    16-01020-jlg        Doc 46       Filed 10/19/18 Entered 10/22/18 09:31:25                   Imaged
                                    Certificate of Notice Pg 1 of 2


                                   Minutes of Proceedings
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
Date:                      October 17, 2018
----------------------------------------------------------------x
In re:
                                                                     Chapter 7
          Amir Orly,                                                 Case No. 15-11650 (JLG)

                  Debtor.
----------------------------------------------------------------x
Alfredo Moreno Cocoletzi, Edgar
Monteroso, Gilberto Dario Ramirez Ramos,
German Torres Romero, and Cristian Fredy Villar
Medina,

                          Plaintiffs,

-against-                                                            Adv. Pro. No. 16-01020 (JLG)

Amir Orly,

                           Defendant.
----------------------------------------------------------------x

Present:                  Hon. James L. Garrity, Jr., United States Bankruptcy Judge

Appearances:              Joshua S. Androphy, Esq., Plaintiffs’ counsel


Proceeding:               Pre-Trial Conference

Orders:                   The Pre-Trial Conference is adjourned to November 15, 2018 at 10:00 a.m.
                          On or before November 12, 2018 at 4:00 p.m., Plaintiffs’ counsel shall file a
                          status letter with the Clerk of the Court (with two single-sided copies
                          delivered to Chambers) updating the Court on the status of the litigation and
                          Plaintiffs’ counsel’s proposed next steps in the litigation.

BY THE COURT:

          October 17, 2018
          New York, New York
                                                              /s/ James L. Garrity, Jr.
                                                              Honorable James L. Garrity, Jr.
                                                              United States Bankruptcy Judge
                16-01020-jlg         Doc 46       Filed 10/19/18 Entered 10/22/18 09:31:25                         Imaged
                                                 Certificate of Notice Pg 2 of 2
                                               United States Bankruptcy Court
                                               Southern District of New York
Cocoletzi,
         Plaintiff                                                                                Adv. Proc. No. 16-01020-jlg
Orly,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0208-1                  User: awilrodri                    Page 1 of 1                          Date Rcvd: Oct 17, 2018
                                      Form ID: pdf001                    Total Noticed: 7


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 19, 2018.
dft            +Amir Orly,   441 E 83rd Street, Apt E,    New York, NY 10028-6172
pla            +Cristian Fredy Villar Medina,    c/o Michael Faillace & Associates, P.C.,    60 East 42nd Street,
                 Suite 2540,   New York, NY 10165-0018
pla            +Edgar Monteroso,   c/o Michael Faillace & Associates, P.C.,     60 East 42nd Street,   Suite 2540,
                 New York, NY 10165-0018
pla            +German Torres Romero,    c/o Michael Faillace & Associates, P.C.,    60 East 42nd Street,
                 Suite 2540,   New York, NY 10165-0018
pla            +Gilberto Dario Ramirez Ramos,    c/o Michael Faillace & Associates,    60 East 42nd Street,
                 Suite 2540,   New York, NY 10024,     UNITED STATES 10165-0018

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Oct 17 2018 20:03:11
                 Office of the United States Trustee,   Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,   201 Varick Street, Suite 1006,   New York, NY 10014-9449
ust            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Oct 17 2018 20:03:11     United States Trustee,
                 Office of the United States Trustee,   U.S. Federal Office Building,
                 201 Varick Street, Room 1006,   New York, NY 10014-9449
                                                                                            TOTAL: 2

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
pla               Alfredo Moreno Cocoletzi
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 19, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 17, 2018 at the address(es) listed below:
              Jesse Barton    on behalf of Plaintiff Alfredo Moreno Cocoletzi jbarton@faillacelaw.com
              Joshua S. Androphy   on behalf of Plaintiff Alfredo Moreno Cocoletzi jandrophy@faillacelaw.com,
               michael@faillacelaw.com
                                                                                            TOTAL: 2
